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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

LADDY CURTIS VALENTINE and                )
RICHARD ELVIN KING, individually and      )
on behalf of those similarly situated,    )
               Plaintiffs,                )          Case No. 4:20-cv-01115
       v.                                 )
                                          )
BRYAN COLLIER, in his official capacity,  )
ROBERT HERRERA, in his official capacity, )          Hon. Keith P. Ellison
and TEXAS DEPARTMENT OF CRIMINAL )
JUSTICE.                                  )
           Defendants.                    )


  PLAINTIFFS’ UNOPPOSED EMERGENCY MOTION FOR WRIT OF HABEAS
CORPUS AD TESTIFACANDUM FOR TEXAS INMATES AT WALLACE PACK UNIT

       Plaintiffs and class members Laddy Valentine, TDCJ #1782033; Richard King, TDCJ

#00516700; Roger Beal, TDCJ #1473289; Gary Butaud, TDCJ #1238964; Leonel Cruz, TDCJ

#1786942; Harold Dove, TDCJ #255592; Shawn Griggs, TDCJ #1481719; Marvin Jones, TDCJ

#1040320; Ryan Montez, TDCJ #2114696; Thomas Pennington, TDCJ #531216; Jon Reynolds,

TDCJ #1736893 and Michael Smith, TDCJ #2263660 (collectively, the “Testifying Class

Members”), respectfully request this Court to issue a writ of habeas corpus to require the State of

Texas to produce them in court via telephone beginning July 13, 2020 to testify in the trial set by

this Court at 9:00 AM.

                                             FACTS

       The Testifying Class Members are currently in the custody of the Texas Department of

Criminal Justice (TDCJ) and are serving their terms at the Wallace Pack Unit in Navasota, Texas

in Grimes County.
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        The parties have conferred about this motion and are in agreement. The undersigned

routinely makes phone calls to inmates at the Wallace Pack Unit and Unit has the capability to call

the Court as requested.

        Until the Testifying Class Members individually become eligible for parole, each class

member remains the custody of the state and subject to the conditions of confinement established

by the TDCJ. TDCJ requires the Testifying Class Members to remain in the Wallace Pack Unit

under the supervision of TDCJ’s Correctional Institutions Division.

        `The sheriff of Harris County, where this court sits, is Ed Gonzalez. The head of the U.S.

Marshals service for the Southern District of Texas is T. Michael O’Connor. The director of

TDCJ’s Correctional Institutions Division is Lorie Davis. The warden of the Wallace Pack Unit is

Robert Herrera.

                                             ARGUMENT

        This Court has the power to issue writs of habeas corpus to require inmates to appear for

trial. Under 28 U.S.C. § 2241(c)(5), the Court may issue a writ habeas corpus when “it is necessary

to bring [the inmate] into court to testify or for trial.”

        Each Testifying Class Member’s testimony at trial is necessary for Plaintiffs collectively

to fully present their evidence and arguments to the Court and counter Defendants’ testimony.

        The Testifying Class Members request that each of them be brought to a telephone that can

be connected to the Court no later than 9:00 AM on July 13, 2020, when the presentation of the

evidence begins, and be available to be telephonically present in the courtroom throughout the

presentation of evidence.




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                                        CONCLUSION

       Plaintiffs therefore respectfully request that the Testifying Class Members each be brought

to a telephone by TDCJ and connected with the court telephonically for the duration of trial.

Dated: July 10, 2020.

                                             Respectfully submitted,
                                             WINSTON & STRAWN LLP

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                                    Certificate of Service

       I hereby certify that a true and correct copy of the foregoing document was served on all
counsel of record on July 10, 2020.

                                                       /s/ John R. Keville
                                                       John R. Keville




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